                                                   Case 2:18-bk-10458-BR       Doc 16 Filed 04/06/18 Entered 04/06/18 15:21:09      Desc
                                                                                Main Document     Page 1 of 8


                                                    1 Kevin I. Shenkman, SBN 223315
                                                      Mary Ruth Hughes, SBN 222662
                                                    2 Andrea Alarcon, SBN 319536
                                                      SHENKMAN & HUGHES, PC
                                                    3 28905 Wight Road
                                                      Malibu, California 92605
                                                    4 Phone: (310) 457-070

                                                    5 Attorneys for MIDWEST BUSINESS CAPITAL, a
                                                      division of UNITED MIDWEST SAVINGS BANK
                                                    6

                                                    7

                                                    8
                                                                                UNITED STATES BANKRUPTCY COURT
                                                    9
                                                                                 CENTRAL DISTRICT OF CALIFORNIA
                                                   10
                                                                                       LOS ANGELES DIVISION
                                                   11
SHENKMAN & HUGHES, PC




                                                   12
                                                        In re                                       Case No. 2:18-bk-10458-BR
                        Malibu, California 92605




                                                   13
                         Phone (310) 457-090
                          28905 Wight Road




                                                                                                    Chapter 7
                                                   14 SONYA MARIE THERIAULT,
                                                                                                    NOTICE OF MOTION AND MOTION
                                                   15                                               FOR REASSIGNMENT; DECLARATION
                                                                     Debtor.                        OF KEVIN I. SHENKMAN
                                                   16

                                                   17
                                                        In re                                       Case No. 2:18-bk-13363-BB
                                                   18
                                                                                                    Chapter 7
                                                   19 ST DESIGNS LLC,
                                                                                                    No Hearing Required
                                                   20                                               [Local Bankruptcy Rule 9013-1(o)]
                                                                     Debtor.
                                                   21

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                                                            NOTICE OF APPEARANCE AND REQUEST FOR SPECIAL NOTICE AND SERVICE OF DOCUMENTS
                                                   Case 2:18-bk-10458-BR       Doc 16 Filed 04/06/18 Entered 04/06/18 15:21:09               Desc
                                                                                Main Document     Page 2 of 8


                                                    1 TO THE HONORABLE BARRY RUSSELL, UNITED STATES BANKRUPTCY JUDGE;

                                                    2 AND OTHER INTERESTED PARTIES:

                                                    3           PLEASE TAKE NOTICE that movant Midwest Business Capital, a division of United

                                                    4 Midwest Savings Bank (“MBC”), a creditor of the bankruptcy estate of Sonya Marie Theriault

                                                    5 (“Theriault”), Case No. 2:18-bk-10458-BR, and of ST DESIGNS LLC (“ST Designs”), Case No.

                                                    6 2:18-bk-13363-BB, hereby files this Notice of Motion ("the Notice") and Motion for

                                                    7 Reassignment (the "Motion") of Bankruptcy Case No. 2:18-bk-13363-BB. A copy of this Notice

                                                    8 and Motion have been served upon, among others, the Office of the United States Trustee, the

                                                    9 Debtors, the 20 Largest Unsecured Creditors, and any other party of interest entitled to notice

                                                   10 under Federal Rule of Bankruptcy Procedure ("FRBP") 2002.

                                                   11           PLEASE TAKE FURTHER NOTICE THAT if you do not oppose the Motion, you
SHENKMAN & HUGHES, PC




                                                   12 need take no further action. However, if you wish to oppose the Motion, you must file a written
                        Malibu, California 92605




                                                   13 response and request for hearing, in the form required by LBR 9013-l(o), with the Clerk of the
                         Phone (310) 457-090
                          28905 Wight Road




                                                   14 Bankruptcy Court at 255 E. Temple Street, Los Angeles, California, 90012, no later than fifteen

                                                   15 days after the date this Notice was served in accordance with LBR 1073-1, and serve any response

                                                   16 to the Motion of MBC, directed to (1) MBC’s counsel, at the address listed on the upper left-hand

                                                   17 corner of this Notice and Motion, and (2) the United States Trustee.

                                                   18      I.      MOTION

                                                   19           MBC hereby requests, pursuant to Local Bankruptcy Rule ("LBR") 1073-1(c), the

                                                   20 reassignment of Bankruptcy Case No. 2:18-bk-13363-BB, the bankruptcy of ST Designs LLC

                                                   21 (“ST Designs”), from the Honorable Sheri Bluebond to the Honorable Barry Russell. ST

                                                   22 Designs’s case is a “related case” as set forth under LBR 1015-2(a)(3) to Bankruptcy Case No.

                                                   23 2:18-bk-10458-BR, currently pending before the Honorable Barry Russell. Under LBR 1073-1(c),

                                                   24 this Motion is required to be filed with the court of the low-numbered case.

                                                   25           Sonya Marie Theriault (“Theriault”) is a 100% owner of ST Designs. Declaration of

                                                   26 Kevin I. Shenkman (the “Shenkman Decl.”) at ¶ __. Theriault filed a voluntary petition for relief

                                                   27 under Chapter 7 of Title 11 of the United States Code (the "Bankruptcy Code") on or about

                                                   28 January 16, 2018, as Bankruptcy Case No. 2:18-bk-10458-BR . Theriault’s case was assigned to

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                                                           NOTICE OF APPEARANCE AND REQUEST FOR SPECIAL NOTICE AND SERVICE OF DOCUMENTS
                                                   Case 2:18-bk-10458-BR         Doc 16 Filed 04/06/18 Entered 04/06/18 15:21:09               Desc
                                                                                  Main Document     Page 3 of 8


                                                    1 the Honorable Barry Russell. On or about March 27, 2018, Theriault caused ST Designs to file a

                                                    2 voluntary petition for relief under Chapter 7 of the Bankruptcy Code, as Bankruptcy Case No.

                                                    3 2:18-bk-13363-BB, which was assigned to the Honorable Sheri Bluebond.

                                                    4            ST Designs’s bankruptcy case is related to Theriault’s bankruptcy case as defined under

                                                    5 LBR 1015-2(a)(3), which provides, in pertinent part, that: “cases are deemed ‘related cases’ if the

                                                    6 earlier bankruptcy case was filed or pending at any time before the filing of the new petition, and

                                                    7 the debtors in such cases: (3) Are ‘affiliates,’ as defined in 11 U.S.C. § 101(2), except that

                                                    8 11 U.S.C.§101(2)(B) shall not apply;” 11 U.S.C. § 101(2) defines the term affiliates as follows:

                                                    9 “entity that directly or indirectly owns, controls, or holds with power to vote, 20 percent or more

                                                   10 of the outstanding voting securities of the debtor. .. “

                                                   11            Here, Theriault’s bankruptcy case was filed on January 16, 2018, before ST Designs’s
SHENKMAN & HUGHES, PC




                                                   12 bankruptcy case, which was filed on March 27, 2018. Theriault owns 100% of ST Designs and is
                        Malibu, California 92605




                                                   13 an affiliate of ST Designs as defined under 11 U.S.C. §101(2). A review of the schedules in this
                         Phone (310) 457-090
                          28905 Wight Road




                                                   14 case shows that MBC is essentially the sole creditor in the case and is likely to be the only creditor

                                                   15 with any significant participation in either if the two cases. MBC is requesting that ST Designs’s

                                                   16 bankruptcy case, which is currently pending before the Honorable Sheri Bluebond be reassigned to

                                                   17 the Honorable Barry Russell, as its case is a related case as defined under LBR 1015-2(a)(3).

                                                   18      II.      CONCLUSION

                                                   19            For all of the foregoing reasons, MBC respectfully requests that the Court enter an order

                                                   20 for the reassignment of Bankruptcy Case No. 2:09-bk-24637-VK, from the Honorable Sheri

                                                   21 Bluebond to the Honorable Barry Russell.

                                                   22

                                                   23 DATED: April 6, 2018                         SHENKAN & HUGHES, PC

                                                   24

                                                   25
                                                                                                   By:      /s/ Kevin I. Shenkman
                                                   26                                                            KEVIN I. SHENKMAN
                                                                                                   Attorneys for MIDWEST BUSINESS CAPITAL, a
                                                   27                                              division of UNITED MIDWEST SAVINGS BANK

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                                                           NOTICE OF APPEARANCE AND REQUEST FOR SPECIAL NOTICE AND SERVICE OF DOCUMENTS
                                                     Case 2:18-bk-10458-BR        Doc 16 Filed 04/06/18 Entered 04/06/18 15:21:09                Desc
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                         Main Document     Page 5 of 8




                 EXHIBIT A
Case
Case2:18-bk-10458-BR
     2:18-bk-13363-BB Doc
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                       Main Document      Page 6
                                               1 of 8
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                      CONSENT TO ACTION TAKEN IN LIEU OF
                                 SPECIAL MEETING OF MEMBERS
                                       ST DESIGNS LLC




          All the members of ST DESIGNS LLC (the "Company") hereby consent to the
  action taken as set forth in the following resolutions:

         WHEREAS, 100% Shareholder SONYA MARIE THERIAULT has informed the
  Company of its desire to file a voluntary petition in the United States Bankruptcy Court
  pursuant to Chapter 7 of Title 11 of the United States Code;

          BE IT RESOLVED, that SONYA MARIE THERIAULT, Managing Member of
  this Company, is authorized and directed to execute and deliver all documents necessary
  to perfect the filing of a chapter 7 voluntary bankruptcy case on behalf of the Company;

         BE IT FURTHER RESOLVED, that SONYA MARIE THERIAULT, Managing
  Member of this Company, is authorized and directed to appear in all bankruptcy
  proceedings on behalf of the Company, and to otherwise do and perform all acts and
  deeds and to execute and delivery all necessary documents on behalf of the Company in
  connection with such bankruptcy case, and

         BE IT FURTHER RESOLVED, that SONYA MARIE THERIAULT, Managing
  Member of this Company, is authorized and directed to employ the law firm of LO & LO
  LLP to represent the Company in such bankruptcy case.

          BE IT FURTHER RESOLVED, that the appropriate officers of the Company are
  hereby authorized and directed to take such action as they deem necessary or appropriate
  to affect the intent and purpose of the foregoing resolutions, and all actions previously
  taken by such officers to affect the intent and purpose of the foregoing resolutions are
  hereby ratified, confirmed and approved.

          The signing of this consent by the members shall constitute full ratification of the
  action taken as set forth in the foregoing resolutions.

  Consent dated: ,,? - ?   ? ·· , 2

             . . tC'-,'    ''\




  SONYAMARIE        f~~R~-b.J:.__
  Managing Member
             Case 2:18-bk-10458-BR                     Doc 16 Filed 04/06/18 Entered 04/06/18 15:21:09                                     Desc
                                                        Main Document     Page 7 of 8
 




                                             PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:

28905 Wight Road, Malibu, CA 90265

A true and correct copy of the foregoing document entitled (specify): __Notice of Motion and Motion for Reassignment;
Declaration of Kevin I. Shenkman
________________________________________________________________________________________________
________________________________________________________________________________________________
________________________________________________________________________________________________
will be served or was served (a) on the judge in chambers in the form and manner required by LBR 5005-2(d); and (b) in
the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
_April 6, 2018_______, I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined
that the following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated
below:


                                                                                                Service information continued on attached page

2. SERVED BY UNITED STATES MAIL:
On (date) _______________, I served the following persons and/or entities at the last known addresses in this bankruptcy
case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail,
first class, postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the
judge will be completed no later than 24 hours after the document is filed.

    Hon. Barry Russell (Via Overnight Delivery)                                   Hon. Sheri Bluebond (Via Overnight Delivery)
    United Bankruptcy Court - Central District of California                      United Bankruptcy Court - Central District of California
    255 East Temple Street, Bin outside Suite 1660                                255 East Temple Street, Suite 1534
    Los Angeles 90012                                                             Los Angeles 90012



SEE ATTACHED


                                                                                                Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date) _______________, I served
the following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.

                                                                                                Service information continued on attached page

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.


      April 6, 2018                  Kevin I. Shenkman                                               /s/ Kevin I. Shenkman
      Date                            Printed Name                                                   Signature
                This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


    June 2012                                                                                           F 9013-3.1.PROOF.SERVICE
            Case 2:18-bk-10458-BR                      Doc 16 Filed 04/06/18 Entered 04/06/18 15:21:09                                     Desc
                                                        Main Document     Page 8 of 8
 




ADDITIONAL SERVICE INFORMATION:

By NEF

    ATTORNEY FOR ST DESIGNS LLC                                                   ATTORNEY FOR SONYA THERIAULT
    Michael Y Lo                                                                  Aidan Butler
    LO & LO LLP                                                                   3550 Wilshire Blvd Ste 1924
    506 N Garfield Ave #280                                                       Los Angeles, CA 90010-2403
    Alhambra, CA 91801

    OFFICE OF THE UNITED STATES                                                   CHAPTER 7 TRUSTEE
    TRUSTEE:                                                                      Peter J Mastan (TR)
    United States Trustee (LA)                                                    550 S Hope Street, Suite 1765
    915 Wilshire Blvd., Suite 1850                                                Los Angeles, CA 90071-2627
    Los Angeles, California 90017


By US Mail

    Bank of America                                                               Dan Rivero, CPA
    PO Box 15796                                                                  Rivero & Associates, Inc.
    Wilmington, DE 19886-5796                                                     13701 Riverside Drive
                                                                                  Suite 500
    Franchise Tax Board                                                           Sherman Oaks, CA 91423
    Bankruptcy Section MS A340
    PO Box 2952                                                                   Internal Revenue Service
    Sacramento, CA 95812-2952                                                     Centralized Insolvency Operation
                                                                                  PO Box 7346
    Southern California Edison                                                    Philadelphia, PA 19101-7346
    PO Box 6400
    Rancho Cucamonga, CA 91729                                                    State Board of Equalization
                                                                                  Account Information Group, MIC:29
    Tim Hall                                                                      PO Box 94287 9
    1036 Broxton Ave.                                                             Sacramento, CA 94279-0029
    Suite B
    Los Angeles, CA 90024




                This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


    June 2012                                                                                           F 9013-3.1.PROOF.SERVICE
